                     Case 1:21-cv-00322-CM Document 112 Filed 07/13/21 Page 1 of 2




                                              THE CITY OF NEW YORK
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                                                                       July 13, 2021

        BY ECF
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        Honorable Gabriel W. Gorenstein
        Southern District of New York
        500 Pearl Street
        New York, New York 10007

        Re:        In Re: New York City Policing During Summer 2020 Demonstrations
                   Payne v. DeBlasio, 20-CV-8924 (CM)(GWG)

                   People v. City of New York, 21-CV-322

                   Sierra v. City of New York, 20-CV-10291

                   Wood v. De Blasio, 20-CV-10541

                   Yates v. New York City, 21-CV-1904

                   Sow v. City of New York, 21-CV-533




        Your Honor:

                I am a Senior Corporation Counsel in the Special Federal Litigation Division of the New
        York City Law Department, assigned to the defense of the above-referenced matters on behalf of
        Defendants. In that capacity, I write to respectfully request that the Court endorse the attached
        Protective Order to unseal certain records in connection with discovery in the above-captioned
        cases. Plaintiffs consent to this request.



                By way of background plaintiffs in the above-captioned cases have requested documents
        pertaining to individuals who were arrested during the relevant protests. Defendants have
        collected documents from the relevant time period, but the process of separating those documents
         Case 1:21-cv-00322-CM Document 112 Filed 07/13/21 Page 2 of 2




that are protest-related from those that are not is both challenging and time-consuming. In
addition, many of these documents, including arrest information unrelated to the protests, were
previously provided to the Attorney General’s Office in response to requests made under Executive
Law Section 63, and as part of the Attorney General’s investigation. Therefore, defendants intend
to provide those documents to the plaintiffs in these actions.



The documents covered by the Proposed Order relate to the stops, arrests, and prosecutions of
people who whose information was “produced to the New York State Attorney General's Office;
the New York City Department of Investigation; or the Corporation Counsel of the City of New
York; in connection with those entities' investigations of the protests in May and June, 2020; or
other records pertaining to the stops and/or arrests and/or prosecution of any non-parties that are
otherwise unduly burdensome to separate from responsive records and are sealed pursuant to CPL
§§ 160.50 and 160.55” In recognition of the privacy interests of these individuals, the Proposed
Order requires parties who receive documents unsealed as a result of the Proposed Order to treat
the “personally identifying information of the putative class members and non-parties (other than
employees of the Defendant City of New York) contained in such records, including their names,
pedigree information (including dates of birth and social security numbers), and contact
information (including addresses, phone numbers, and e-mail addresses), ... as Confidential
Materials under the Protective Order” entered and filed April 2, 2021 in these consolidated actions
(Document 115). In addition, plaintiffs have agreed not to use or publicize in any way the personal
information of those arrestees whose arrests are not protest related, including the individuals’
names, addresses, arrest charges and other sensitive information. This compromise will allow
defendants to produce all relevant documents in a timely manner while still protecting the rights
of non-parties to this litigation. Moreover, as discussed in plaintiffs’ letter (See Docket Entry No.
161), the Court has the inherent power to unseal these records.

       Thank you for your consideration of this request.

                                                              Respectfully submitted,
                                                                      /s/
                                                              Elissa B. Jacobs

                                                              Senior Counsel
                                                              Special Federal Litigation Division

cc: Counsel of record
VIA ECF




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